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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 West Palm Beach Division
                                   www.flsb.uscourts.gov

 In re:                                                    Case No. 20-19507-BKC-MAM

 CEMHAN BIRICIK and ISABEL C BIRICIK,                      Chapter 7

       Debtors.
 _______________________________________/

 SQUEEZE, LLC, a foreign limited liability                 Adv. Case No.
 company, d/b/a SQUEEZE STRATEGIES, LLC
 and ABIDING VENTURES, LLC, a Florida
 limited liability company,

            Plaintiffs,
 vs.

 CEMHAN BIRICIK and ISABEL C BIRICIK,

       Defendants.
 _______________________________________/

                      COMPLAINT OBJECTING TO DISCHARGE AND TO
                          THE DISCHARGEABILITY OF A DEBT

          Squeeze, LLC, a foreign limited liability company, d/b/a Squeeze Strategies, LLC

(“Squeeze” or the “Plaintiff”) and Abiding Ventures, LLC, a Florida limited liability company

(“Abiding Ventures”), by counsel, pursuant to 11 U.S.C. §§ 727 and 523, bring this Complaint

Objecting to Discharge and to the Dischargeability of a Debt against Cemhan Biricik (“Cemhan”)

and Isabel C Biricik (“Isabel”) (collectively, the “Defendants”), and allege as follows:

                                        Jurisdiction and Venue

          1.       This case was commenced by the filing of a voluntary Chapter 7 petition on August

31, 2020 (the “Petition Date”) by the Defendants.

          2.       This is an action objecting to the Debtors’ discharge, pursuant to 11 U.S.C. § 727,

and objecting to the dischargeability of a debt, pursuant to 11 U.S.C. § 523.

          3.       This is a core proceeding and this Court has jurisdiction over this action pursuant

to 28 U.S.C. §§ 157 and 1334 and Fed. R. Bankr. P. 7001.
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       4.       Venue is proper herein pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                Parties

       5.       Squeeze, LLC is a Delaware limited liability company, d/b/a Squeeze Strategies,

LLC. Elias Janetis (“Janetis”) is the Manager of Squeeze, LLC.

       6.       Abiding Ventures, LLC is a Florida limited liability company also owned by

Janetis.

       7.       Cemhan Biricik is the Debtor.

       8.       Isabel C Biricik is the spouse of the Debtor and is the Joint Debtor.

                                          General Allegations

       9.       Biricik LLC is an inactive Florida limited liability company. During all relevant

time periods, Isabel Biricik was the sole owner and Member of Biricik LLC.

       10.      Squeeze operates an online website and application that allows consumers the

ability to compare recurring services, find promotional coupons, and track their spending.

                The Transactions Between Cemhan, Biricik LLC and Squeeze

       11.      Cemhan and Biricik LLC marketed themselves as, among other things, specialists

in cryptocurrency consulting, investing and Initial Coin Offering (“ICO”) creation.

       12.      In late January/early February 2018, Cemhan had ongoing negotiations with

management at Squeeze to discuss whether Squeeze could benefit from creating an ICO, and if so,

whether this was something that Cemhan and Biricik LLC could assist Squeeze with

implementing.

       13.      During the course of those negotiations, Cemhan told management at Squeeze,

repeatedly, that he was well-versed in ICO creation, that the consultancy work he was proposing

to Squeeze was legal and did not violate any securities laws, and that if at any time Squeeze was

dissatisfied with Cemhan’s and Biricik LLC’s work, Cemhan would promptly refund any amount

paid to Biricik LLC for their services.
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       14.     Based upon these representations, on or about February 8, 2018, Squeeze entered

into a series of agreements with Biricik LLC, including the following:

       a.      An ICO Website Design Agreement (“WDA”), pursuant to which Biricik LLC

agreed to create an ICO crowd sale website;

       b.      ICO Marketing Consulting Agreements (collectively “MCA”), pursuant to which

Biricik LLC agreed to provide certain marketing services on behalf of Squeeze; and

       c.      A TOKEN Development Agreement (“TDA”) pursuant to which Biricik LLC

agreed, among other things, to (a) “design a custom Ethereum Token” on behalf of Squeeze, and

(b) provide “Crowd sale custom code creation.”

       Copies of the WDA, MCA and TDA (collectively referred to herein as the “Agreements”)

are attached as Composite Exhibit “A.”

       15.     In connection with these services, Cemhan and Biricik LLC issued an invoice to

Squeeze dated February 6, 2018 in the total amount of $148,000.00, of which 50% was “due upon

receipt.” A copy of this invoice is attached as Exhibit “B.”

       16.     Based upon Cemhan’s and Biricik LLC’s repeated assurances that the ICO did not

violate state or federal securities laws, Squeeze executed the Agreements.

       17.     In addition, Abiding Ventures, LLC, a limited liability company also owned by

Janetis, on behalf of Squeeze, paid Biricik LLC an initial deposit of $74,000.00 (the “Squeeze

Funds”). A copy of the payment is attached as Exhibit “C”.

       18.      Shortly thereafter, Squeeze discussed the proposed ICO in greater detail with legal

counsel, and Squeeze discovered that the Cemhan’s and Biricik LLC’s proposed ICO was a

violation of both state and federal securities laws.

       19.     Therefore, on or about March 5, 2018, Janetis, on behalf of Squeeze, sent an email

to Cemhan explaining the foregoing and advising that Squeeze was therefore not going to move

forward with the proposed ICO. A copy of the email is attached as Exhibit “D.”
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      20.      Janetis also requested that Cemhan and Biricik LLC return the Squeeze Funds that

Squeeze, through Abiding Ventures, LLC, had previously paid.

      21.      Despite Squeeze’s repeated demands for the return of its initial deposit, Cemhan

and Biricik LLC have failed to respond and failed to return the Squeeze Funds to Squeeze.

                                   The State Court Proceeding

      22.      As a result, on April 9, 2018, Squeeze commenced a lawsuit (the “Complaint”)

against Cemhan and Biricik LLC, in the Palm Beach County Circuit Court (the “State Court”),

Case No. 50-2018-CA-004290-XXXX-MB, for rescission of the Agreements (Count 1),

Fraudulent Inducement (Count 2), Conversion (Count 3) and Unjust Enrichment (Count 4) (the

“State Court Proceeding”). A true and correct copy of the Complaint filed in the State Court

Proceeding is attached as Exhibit “E”.

      23.      On January 29, 2019, Cemhan filed a voluntary Chapter 13 bankruptcy proceeding,

Case No. 19-11213-EPK, in the United States Bankruptcy Court for the Southern District of

Florida (the “First Bankruptcy Case”).

      24.      Thereafter, on February 1, 2019, the State Court entered a Final Judgment in favor

of Squeeze and against Biricik LLC, in the amount of $75,590.73, plus post-judgment interest (the

“Biricik LLC Final Judgment”). A true and correct copy of the Biricik LLC Final Judgment is

attached as Exhibit “F”.

      25.       On July 10, 2019, the First Bankruptcy Case was dismissed, by virtue of an Agreed

Order Denying Confirmation and Dismissing Chapter 13 Case with Prejudice for 180 Days [ECF

No. 67 in the First Bankruptcy Case].

      26.      On January 10, 2020, Squeeze filed an Impleader Complaint against Cemhan and

Isabel, alleging, among other things, the existence of alter ego liability against Cemhan and Isabel,

for the acts of Biricik LLC.

      27.      On July 9, 2020, the State Court entered a Final Judgment Against Cemhan Biricik,
                                ________________________
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in the amount of $76.025.81, plus post-judgment interest (the “Cemhan Biricik Final Judgment”),

on Squeeze’s claim(s) for Fraudulent Inducement (Count 2), Conversion (Count 3) and Unjust

Enrichment (Count 4). A true and correct copy of the Cemhan Biricik Final Judgment is attached

as Exhibit “G”.

      28.     Thereafter, on July 20, 2020, Squeeze filed the Judgment Creditor’s Motion for

Default Final Judgment in Proceedings Supplementary to Execution (the “Motion for Default”),

in the State Court Proceeding, against Cemhan and Isabel. The Motion for Default was scheduled

for hearing on September 3, 2020 at 10:00 a.m. in the State Court.

      29.     However, on August 31, 2020, the Defendants filed the above-captioned

bankruptcy proceeding, which automatically stayed the State Court Proceeding.

                             The Biricik LLC TD Bank Account

      30.     The Squeeze Funds were deposited into Biricik LLC’s bank account at TD Bank,

N.A. (Acct # 6177) (the “TD Bank Account”) on February 8, 2018.

      31.     A cursory review of the TD Bank Account demonstrates that at all relevant times,

Biricik LLC was nothing more than the alter ego/mere instrumentality of both Cemhan and Isabel.

      32.     In that regard, Cemhan and Isabel used the Squeeze Funds deposited into the Biricik

LLC TD Bank Account as their own personal funds and cause Biricik LLC to:

       a.     Pay their personal credit card expenses;

       b.     Pay their personal motor vehicle expenses;

       c.     Pay their children’s school tuition and/or child support obligations;

       d.     Pay their personal meal expenses;

       e.     Pay their personal entertainment expenses; and

       f.     Pay off their personal debts.

      33.     In fact, Isabel was the only authorized user on the TD Bank Account from May 1,

2017 until February 13, 2018, when she suddenly added Cemhan as an authorized user. This
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occurred just five (5) days after the Squeeze Funds were deposited into the TD Bank Account.

      34.     Prior to receiving the Squeeze Funds, the TD Bank Account had a negative balance.

      35.     Biricik LLC was administratively dissolved on September 22, 2017.

      36.     The continued operation of Biricik LLC after dissolution resulted in a partnership

business operated jointly by Cemhan and Isabel under the then-fictitious name “Biricik LLC”.

      37.     From January 2018 until the TD Bank Account was closed in October 2018, there

were only three (3) other deposits made into the account, to wit: (a) $20.00 on January 19, 2018;

(b) $20.00 on February 8, 2018; and (c) $2,247.21 made on July 2, 2018. In other words, over

97% of the funds in this account came directly from Squeeze.

      38.     Cemhan and Isabel used the Squeeze Funds to pay $9,133.51 to American Heritage

School from February 2018 through July 2018 from the TD Bank Account.

      39.     Cemhan and Isabel used the Squeeze Funds to pay $4,394.45 to St. Paul Lutheran’s

School from the TD Bank Account.

      40.     Cemhan and Isabel used the Squeeze Funds to pay $4,945.00 to Cemhan’s father

from the TD Bank Account.

      41.     Cemhan and Isabel used the Squeeze Funds to pay $4,763.99 to furniture and

electronics stores from the TD Bank Account.

      42.     Cemhan and Isabel used the Squeeze Funds to pay $6,492.61 towards automobiles

and automotive insurance from the TD Bank Account.

      43.     Cemhan and Isabel used the Squeeze Funds to pay $3,100.00 directly to Cemhan

from the TD Bank Account.

      44.     Cemhan and Isabel used the Squeeze Funds to pay $1,860.87 towards Cemhan’s

child support payments related to his prior marriage from the TD Bank Account.

      45.     Cemhan and Isabel used the Squeeze Funds to incur 145 separate charges for

purchased made on Amazon between February 2018 and July 2018 from the TD Bank Account.
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      46.       Cemhan and Isabel used Biricik LLC to induce Squeeze into believing that through

Biricik LLC, they routinely provided assistance in ICO creation, when in fact, they had no other

clients and were essentially out-of-business, as evidenced by the negative account balance in the

TD Bank Account prior to receiving the Squeeze Funds, the fact that no other significant deposits

were made into the TD Bank Account, and the fact that Biricik LLC was administratively dissolved

during this time period.

                              The Instant Bankruptcy Proceeding

      47.       On October 6, 2020, Squeeze, though counsel, filed a Notice of Rule 2004

Examination Duces Tecum [ECF No. 22] (the “2004 Notice”).

      48.       Squeeze requested in the 2004 Notice that the Defendants provide numerous

documents and records no later than October 16, 2020, as listed in Exhibit “A” of the 2004 Notice

(the “Document List”).

      49.       Squeeze also requested in the 2004 Notice that the Defendants appear for their Rule

2004 Examination on October 22, 2020 at 10:30 a.m. (the “2004 Examination”).

      50.       The Defendants did, in fact, appear at their 2004 Examination on October 22, 2020

at 10:30 a.m.

      51.       Isabel testified at the 2004 Examination that she did not have any documents

responsive to the Document List.

      52.       Cemhan testified at the 2004 Examination that he had a joint bank account with his

mother at Bank of America, N.A. However, Cemhan was unable to provide an explanation as to

several transactions from this bank account, including transactions made for his own personal use

and benefit.

      53.       Cemhan also testified at the 2004 Examination that he does not “. . . really keep

records and stuff.”

      54.       At the 2004 Examination, both Cemhan and Isabel were unable to explain several
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transactions made from the Biricik LLC TD Bank Account, which was comprised mostly from the

Squeeze Funds.

         55.    All conditions precedent to bringing this action, if any, have occurred or have been

performed, waived or excused.

    Count 1 – Objection to Discharge (11 U.S.C. § 727(a)(3)) (Against Both Defendants)

         56.    The Plaintiffs reallege all of the allegations set forth in each of the paragraphs

above.

         57.    The Defendants have concealed, destroyed, mutilated, falsified and/or failed to

keep or preserve recorded information, including books, documents, records and/or papers, from

which the Defendants’ financial condition or business transactions might be ascertained.

         58.    Such acts or failure(s) to act were not justified under all of the circumstances of this

case.

         59.    As such, the Defendants’ discharge should be denied, pursuant to 11 U.S.C. §

727(a)(3).

         WHEREFORE, Squeeze (and to the extent that the Court determines that Abiding Ventures

is the appropriate party-plaintiff, Abiding Ventures) request(s) that this Court enter judgment

against the Defendants: (a) denying the Defendants’ discharge pursuant to 11 U.S.C. § 727(a)(3);

and (b) granting such other and further relief as the Court deems just and proper.

    Count 2 – Objection to Discharge (11 U.S.C. § 727(a)(5)) (Against Both Defendants)

         60.    The Plaintiffs reallege all of the allegations set forth in each of the paragraphs

above.

         61.    The Defendants have failed to explain satisfactorily, before determination of denial

of discharge, any loss of assets or deficiency of assets to meet the Defendants’ liabilities.

         62.    As such, the Defendants’ discharge should be denied, pursuant to 11 U.S.C. §

727(a)(5).
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         WHEREFORE, Squeeze (and to the extent that the Court determines that Abiding Ventures

is the appropriate party-plaintiff, Abiding Ventures) request(s) that this Court enter judgment

against the Defendants: (a) denying the Defendants’ discharge pursuant to 11 U.S.C. § 727(a)(5);

and (b) granting such other and further relief as the Court deems just and proper.

      Count 3 – Objection to the Dischargeability of a Debt (11 U.S.C. § 523(a)(2)(A))
                                (Against Cemhan Biricik)

         63.    The Plaintiffs reallege all of the allegations set forth in each of the paragraphs

above.

         64.    Cemhan made false representations to Squeeze’s representative(s), with the intent

to deceive Squeeze.

         65.    Cemhan knew or should have known that the representations were false at the time

they were made.

         66.    Squeeze relied on the misrepresentation in signing the Agreements and remitting

the Squeeze Funds to Biricik LLC.

         67.    Such reliance was justified given the circumstances.

         68.    Squeeze and/or Abiding Ventures sustained a loss as a result of the

misrepresentation(s).

         WHEREFORE, Squeeze (and to the extent that the Court determines that Abiding Ventures

is the appropriate party-plaintiff, Abiding Ventures) request(s) that this Court enter judgment

against Cemhan: (a) determining that the debt owed by Cemhan to Squeeze (and/or Abiding

Ventures) is non-dischargeable pursuant to 11 U.S.C. § 523(a)(2)(A); and (b) granting such other

and further relief as the Court deems just and proper.

          Count 4 – Objection to the Dischargeability of a Debt (11 U.S.C. § 523(a)(4))
                                  (Against Both Defendants)

         69.    The Plaintiffs reallege all of the allegations set forth in each of the paragraphs

above.
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         70.    As set forth above, Cemhan and Isabel appropriated the Squeeze funds for their

own use and benefit and did so with fraudulent intent or deceit.

         71.    As such, debt owed by the Defendants were incurred for larceny, pursuant to 11

U.S.C. § 523(a)(4).

         WHEREFORE, Squeeze (and to the extent that the Court determines that Abiding Ventures

is the appropriate party-plaintiff, Abiding Ventures) request(s) that this Court enter judgment

against the Defendants: (a) determining that the debt owed by the Defendants to Squeeze (and/or

Abiding Ventures) is non-dischargeable pursuant to 11 U.S.C. § 523(a)(4); and (b) granting such

other and further relief as the Court deems just and proper.

          Count 5 – Objection to the Dischargeability of a Debt (11 U.S.C. § 523(a)(6))
                                  (Against Both Defendants)

         72.    The Plaintiffs reallege all of the allegations set forth in each of the paragraphs

above.

         73.    As set forth above, Cemhan and Isabel intentionally appropriated the Squeeze funds

for their own use and benefit.

         74.    Such action(s) were done with the intent to harm Squeeze.

         75.    Such action(s) caused damage to Squeeze.

         76.    Such injury is the approximate result of the action(s) of the Defendant.

         77.    As such, debt owed by the Defendants were incurred for a willful and malicious

injury by the Defendants to Squeeze or to the property of Squeeze, pursuant to 11 U.S.C. §

523(a)(6).

         WHEREFORE, Squeeze (and to the extent that the Court determines that Abiding Ventures

is the appropriate party-plaintiff, Abiding Ventures) request(s) that this Court enter judgment

against the Defendants: (a) determining that the debt owed by the Defendants to Squeeze (and/or



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Abiding Ventures) is non-dischargeable pursuant to 11 U.S.C. § 523(a)(6); and (b) granting such

other and further relief as the Court deems just and proper.

                                      Reservation of Rights

       Upon completion of his investigation and discovery, the Plaintiffs reserve the right to

amend this Complaint to assert any additional claims for relief against the Defendants as may be

warranted under the circumstances and as permitted by law.

      Dated: November 30, 2020

                                                       LEIDERMAN SHELOMITH
                                                       ALEXANDER + SOMODEVILLA, PLLC
                                                       Counsel for the Plaintiffs
                                                       2699 Stirling Road, Suite C401
                                                       Ft. Lauderdale, Florida 33312
                                                       Telephone: (954) 920-5355
                                                       Facsimile: (954) 920-5371

                                                       By:_________/s/______________
                                                             ZACH B. SHELOMITH
                                                             Florida Bar No. 0122548
                                                             zbs@lsaslaw.com




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                                                              IN THE CIRCUIT COURT FOR THE
                                                              FIFTEENTH JUDICIAL CIRCUIT, IN
                                                              AND FOR PALM BEACH COUNTY,
                                                              FLORIDA


                                                              CASE NO:

        SQUEEZE, LLC,

        a Florida limited liability company,

               Plaintiff,

        vs.
        BIRICIK, LLC, a Florida limited
        liability company, and CEMHAN
        BIRICIK, an individual,

               Defendants.
                                                        /

                                                 COMPLAINT

               Plaintiff, SQUEEZE, LLC, a Florida limited liability company (hereinafter referred to as

        “Squeeze” or “Plaintiff”), by and through its undersigned counsel, files its Complaint

        (“Complaint”) and sues Defendants, BIRICIK, LLC, a Florida limited liability company

        (“Biricik”) and CEMHAN BIRICIK, an individual (“Mr. Biricik”) (collectively Biricik and Mr.

        Biricik are referred to herein as “Defendants”), and alleges as follows:

                                  PARTIES, VENUE AND JURISDICTION

               1.      This is a complaint for damages in excess of $15,000.00, exclusive of interest, fees

        and costs.

               2.      Plaintiff is a Florida limited liability company with its principal place of business

        located in Palm Beach County, FL.

               3.      Defendant, Biricik, is a Florida limited liability company with its principal place of

        business located in Broward County, FL.




                                                     Exhibit "E"
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                                                                                      CASE NO:



        4.        Defendant, Mr. Biricik, is an individual residing in Broward County, Florida.

        5.        Venue is proper in Palm Beach County, Florida, pursuant to Fla. Stat. §§ 47.011

and 47.041 because the causes of action accrued in Palm Beach County, FL.

                                    GENERAL ALLEGATIONS

        6.        Squeeze operates an online website and app that allows consumers the ability to

compare recurring services, find promotional coupons, and track their spending.

        7.        Defendants market themselves as, among other things, specialists in cryptocurrency

consulting, investing and Initial Coin Offering (“ICO”) creation.

        8.        In late January/early February 2018, Mr. Biricik had ongoing negotiations with

management at Squeeze to discuss whether Squeeze could benefit from creating an ICO, and if so,

whether this was something the Defendants could assist Squeeze with implementing.

        9.        During the course of those negotiations, Mr. Biricik told management at Squeeze,

repeatedly, that he was well-versed in ICO creation, that the consultancy work he was proposing

to Squeeze was legal and did not violate any securities laws, and that if at any time Squeeze was

dissatisfied with Defendants’ work, he would promptly refund any amount paid to Defendants for

their services.

        10.       Based upon these representations, on or about February 8, 2018, Squeeze entered

into a series of agreements with Biricik, all of which related to Biricik’s assistance with developing

an ICO on behalf of Squeeze. The agreements specifically included the following:

              •   An ICO Website Design Agreement (“WDA”), pursuant to which Biricik agreed to

                  create an ICO crowd sale website;

              •   ICO Marketing Consulting Agreements (collectively “MCA”), pursuant to which

                  Biricik agreed to provide certain marketing services on behalf of Squeeze; and



                                               2
                                              Exhibit "E"
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                                                                                      CASE NO:



             •   A TOKEN Development Agreement (“TDA”) pursuant to which Biricik agreed,

                 among other things, to (a) “design a custom Ethereum Token” on behalf of Squeeze,

                 and (b) provide “Crowd sale custom code creation.”

       Copies of the WDA, MCA and TDA (collectively referred to herein as the “Agreements”)

are attached as Composite Exhibit “A.”

       11.       In connection with these services, Defendants issued an invoice to Squeeze dated

February 6, 2018 in the total amount of $148,000.00, of which 50% was “due upon receipt.” A

copy of this invoice is attached as Exhibit “B.”

       12.       Based upon Defendants’ repeated assurances that the ICO did not violate state or

federal securities laws, Squeeze executed the Agreements and paid Defendants an initial deposit

of $74,000.00.

       13.       Shortly thereafter, Squeeze discussed the proposed ICO in greater detail with legal

counsel, and Squeeze discovered that the Defendants’ proposed ICO was a violation of both state

and federal securities laws.

       14.       Therefore, on or about March 5, 2018, Squeeze’s manager, Elias Janetis (“Mr.

Janetis”), sent an email to Mr. Biricik explaining the foregoing and advising that Squeeze was

therefore not going to move forward with the proposed ICO. A copy of the letter is attached as

Exhibit “C.” Plaintiff also requested that Defendants return the initial deposit that Squeeze had

previously paid.

       15.       Unfortunately, despite Plaintiff’s repeated demands for the return of its initial

deposit, Defendants have failed to respond and failed to return Squeeze’s initial deposit.

       16.        All conditions precedent to bringing this action, if any, have occurred or have been

performed, waived or excused.



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                                        COUNT I
                             RESCISSION OF THE AGREEMENTS

          17.    Plaintiff adopts and incorporates paragraphs 1 through 17 above, as if fully set forth

herein.

          18.    In late January/early February 2018, Mr. Biricik had ongoing negotiations with

management at Squeeze to discuss whether Squeeze could benefit from creating an ICO, and if so,

whether this was something the Defendants could assist Squeeze with.

          19.    During the course of those negotiations, Mr. Biricik told management at Squeeze,

repeatedly, that he was well-versed in ICO creation, that the consultancy work he was proposing

to Squeeze was legal and did not violate any securities laws, and that if at any time Squeeze was

dissatisfied with Defendants’ work, he would promptly refund any amount paid to him for his

services.

          20.    Based upon these representations, on or about February 8, 2018, Squeeze entered

into the Agreements, copies of which are attached as Composite Exhibit “A.”

          21.    The Agreements all pertain to Biricik’s assistance with developing an ICO on

behalf of Squeeze.

          22.    In connection with these services, Defendants issued an invoice to Squeeze dated

February 6, 2018 in the total amount of $148,000.00, of which 50% was “due upon receipt.” A

copy of this invoice is attached as Exhibit “B.”

          23.    Based upon Defendants’ repeated assurances that the ICO did not violate state or

federal securities laws, Squeeze executed the Agreements and paid Defendants an initial deposit

of $74,000.00.

          24.    Shortly thereafter, Squeeze discussed the proposed ICO in greater detail with legal

counsel, and Squeeze discovered that the Defendants’ proposed ICO was a violation of both state


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and federal securities laws.

          25.   Therefore, on or about March 5, 2018, Squeeze’s manager, Mr. Janetis, sent an

email to Mr. Biricik explaining the foregoing and advising that Squeeze was therefore not going

to move forward with the proposed ICO. Plaintiff also requested that Defendants return the initial

deposit that Squeeze had previously paid.

          26.   Unfortunately, despite Plaintiff’s repeated demands for the return of its initial

deposit, Defendants have failed to respond and failed to return Squeeze’s initial deposit.

          27.   But for Defendants’ numerous misrepresentations regarding the legality of the

proposed ICO, Plaintiff would never have entered into the Agreements.

          28.   Because the ICO proposed by Defendants is illegal, the Agreements should be

rescinded and Defendants should be compelled to return Squeeze’s initial deposit of $74,000.00.

          WHEREFORE, Plaintiff, SQUEEZE, LLC, respectfully requests this Court to rescind the

Agreements and order that Defendants, BIRICIK, LLC and CEMHAN BIRICIK promptly return

Squeeze’s initial deposit, along with awarding such other and further relief that it deems just and

proper.

                                       COUNT II
                                FRAUDULENT INDUCEMENT


          29.   Plaintiff adopts and incorporates paragraphs 1 through 17 above, as if fully set forth

herein.

          30.   In late January/early February 2018, Mr. Biricik had ongoing negotiations with

management at Squeeze to discuss whether Squeeze could benefit from creating an ICO, and if so,

whether this was something the Defendants could assist Squeeze with.

          31.   During the course of those negotiations, Mr. Biricik told management at Squeeze,



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including Mr. Janetis, on several occasions, that he was well-versed in ICO creation, that the

consultancy work he was proposing to Squeeze was legal and did not violate any securities laws,

and that if at any time Squeeze was dissatisfied with Defendants’ work, he would promptly refund

any amount paid to him for his services.

       32.     Based upon Defendants’ repeated assurances that the ICO did not violate state or

federal securities laws, Squeeze executed the Agreement and paid Defendants an initial deposit of

$74,000.00.

       33.     Shortly thereafter, Squeeze discussed the proposed ICO in greater detail with legal

counsel, and Squeeze discovered that the Defendants’ proposed ICO was a violation of both state

and federal securities laws.

       34.     Therefore, on or about March 5, 2018, Squeeze’s manager, Mr. Janetis, sent an

email to Mr. Biricik explaining the foregoing and advising that Squeeze was therefore not going

to move forward with the proposed ICO. Mr. Janetis also requested that Defendants return the

initial deposit that Squeeze had previously paid.

       35.     Unfortunately, despite Plaintiff’s repeated demands for the return of its initial

deposit, Defendants have failed to respond and failed to return Squeeze’s initial deposit.

       36.     But for the Defendants’ numerous misrepresentations regarding the legality of the

proposed ICO, Plaintiff would never have entered into the Agreements.

       37.     Defendants knew of the falsity of their representations to Squeeze, and they made

the representations with the specific intent of inducing Squeeze to pay them an initial deposit of

$74,000.00.

       38.     Squeeze reasonably relied upon Mr. Biricik’s representations and fully complied

with its obligations.



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          39.   As a result of Defendants’ actions, Squeeze has suffered damages.

          WHEREFORE, Plaintiff, SQUEEZE, LLC, demands judgment against Defendants,

BIRICIK, LLC and CEMHAN BIRICIK, for damages, interest and costs, together with such other

and further relief deemed just, equitable and proper.

                                            COUNT III
                                           CONVERSION


          40.   Plaintiff adopts and incorporates paragraphs 1 through 17 above, as if fully set forth

herein.

          41.   Because the ICO proposed by Defendants is illegal, the Agreements are, by

operation of law, void ab initio, and Plaintiff is entitled to the return of its $74,000.00 initial

deposit.

          42.   Notwithstanding the foregoing, Defendants have failed to return Plaintiff’s initial

deposit, and instead, have converted these funds to their own use.

          43.   Plaintiff has retained the undersigned attorneys to represent it in this action and is

required to pay them a reasonable fee for their services.

          WHEREFORE, Plaintiff, SQUEEZE, LLC, demands judgment against Defendants,

BIRICIK, LLC and CEMHAN BIRICIK, for damages, interest and costs, together with such other

and further relief deemed just, equitable and proper.

                                          COUNT IV
                                     UNJUST ENRICHMENT

          44.    Plaintiff adopts and incorporates paragraphs 1 through 17 above, as if fully set forth

herein.

          45.   Because the ICO proposed by Defendants is illegal, the Agreements are, by

operation of law, void ab initio, and Plaintiff is entitled to the return of its $74,000.00 initial


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deposit.

       46.     By failing to return Plaintiff’s initial deposit, Defendants have been unjustly

enriched and Plaintiff has been impoverished.

       47.     Plaintiff has retained the undersigned attorneys to represent it in this action and is

required to pay them a reasonable fee for their services.

       WHEREFORE, Plaintiff, SQUEEZE, LLC, demands judgment against Defendants,

BIRICIK, LLC and CEMHAN BIRICIK, for damages, interest and costs, together with such other

and further relief deemed just, equitable and proper.

       Dated: April 9, 2018.



                                                        Respectfully submitted

                                                        STORRINGS LAW
                                                        Counsel for Plaintiff
                                                        10100 West Sample Road, Suite 300
                                                        Coral Springs, FL 33065
                                                        Telephone: (954) 302-7148
                                                        Fax: (954) 358-4064
                                                        Email: harley@storringslaw.com
                                                               Agnes@storringslaw.com

                                                        By: /s/ Harley J. Storrings
                                                               Harley J. Storrings
                                                               Florida Bar No. 870641




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Please Note: Exhibits to the State Court Complaint are already
contained in Exhibits “A”, “B” and “D” to this Adversary
Complaint




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IN THE CIRCUIT COURT FOR THE FIFTEENTH
JUDICIAL CIRCUIT, IN AND FOR PALM BEACH
COUNTY, FLORIDA


SQUEEZE, LLC,
a Florida limited liability company,

          Plaintiff,

vs.

BIRICIK, LLC, a Florida limited
liability company, and CEMHAN
BIRICIK, individually, jointly and                         CASE NO: 502018CA004290XXXXMB
severally,

          Defendants,
                                                       /

               FINAL JUDGMENT AGAINST DEFENDANT CEMHAN BIRICIK

          THIS CAUSE came before this Court for a one-day bench trial on June 4, 2020 on
Plaintiff, SQUEEZE, LLC’s (“Plaintiff”) Complaint against Defendant, CEMHAN BIRICIK
(“Mr. Biricik”) alleging (a) Fraudulent Inducement against Mr. Biricik (Count II); (b) Conversion
against Mr. Biricik (Count III); and (c) Unjust Enrichment against Mr. Biricik.1 Having observed
all witness testimony at trial, having reviewed the exhibits offered into evidence at trial, having
heard argument of counsel, and being fully apprised in the premises, this Court finds as follows:

          1.           Preliminarily, the Court notes that this non-jury trial was held remotely through Zoom

videoconference technology. Mr. Biricik did not appear at trial despite the fact that, among other

things,    (a) an email was sent out at the                      direction of this Court from CAD-

DivisionAG@pbcgov.org to Plaintiff ’s counsel and to Mr. Biricik at the email he provided to the

Court (iceepc@gmail.com) on May 14, 2020 advising all recipients, including Mr. Biricik, that

this matter has been set per the E-Calendar Call form on the Division AG website posted trial

docket and to review the court's trial docket to see when the case was set for trial; and (b) the

Court Reporting Agency that hosted the Zoom videoconference (U.S. Legal Support) sent an

email to all parties, including Mr. Biricik (at iceepc@gmail.com) in which it provided the date of

trial, the starting time of trial, and a link to attend trial.

          2.           Based upon the testimony that was provided at trial, this Court hereby enters Final
                                                   Exhibit "G"
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Case No. 50-2018-CA-004290-XXXX-MB

Judgment in favor of Plaintiff, SQUEEZE, LLC (901 NW 35th Street, Boca Raton, FL 33431;

FEI/EIN Number XX-XXXXXXX) and against Defendant, CEMHAN BIRICIK (6398 Amberwoods

Drive, Boca Raton, FL 33433) on Plaintiff ’s claims for (a) Fraudulent Inducement against Mr.

Biricik (Count II); (b) Conversion against Mr. Biricik (Count III); and (c) Unjust Enrichment

against Mr. Biricik.

         3.         Although Plaintiff was seeking principal damages against Mr. Biricik in the amount of

Seventy-Four Thousand Dollars ($74,000.00), based upon the evidence presented, this Court

finds that Plaintiff’s principal damages are Seventy-Two Thousand Dollars ($72,000.00).

         4.         The Court further finds that Plaintiff is entitled to recover its reasonable costs from Mr.

Biricik, and based upon the Affidavit provided by Plaintiff, this Court finds that Plaintiff is

entitled to recover costs from Mr. Biricik in the amount of $4,025.81.

         5.         Therefore, the total amount of this Final Judgment is $76,025.81, which shall bear

interest at the statutory rate (currently 6.66% interest per annum).

         6.         Defendant, CEMHAN BIRICIK, shall complete under oath Florida Rule of Civil

Procedure Form 1.977 (Fact Information Sheet for Individuals), including all required

attachments, and serve same on Plaintiff ’s counsel within 45 days of Plaintiff ’s attorney mailing

and emailing said form to Defendant, unless the Final Judgment is satisfied prior to that time.
         DONE AND ORDERED in Palm Beach County, Florida.




Copies furnished to:

Harley J. Storrings, Esq. and Greg Barthelette, Esq., Storrings Law, 9600 W. Sample Road,
Suite   206,     Coral Springs,     FL         33065,     email:   Harley@storringslaw.com;
Greg@storringslaw.com; and Assistant@storringslaw.com; and
Cemhan Biricik, 6398 Amberwoods Drive, Boca Raton, FL 33433, email: iceepc@gmail.com.

1 Co unt I o f Plaintiff’s Co mplaint fo r Rescissio n o f Ag reements is mo o t as it was previo usly reso lved by
virtue o f this Co urt’s Final Judg ment in favo r o f Plaintiff and ag ainst Defendant, BIRICIK, LLC dated February 1,
2019.

                                                      Exhibit "G"
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